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lN THE UNITED STATES DISTRICT COURT 054 """\\_
FOR THE WESTERN DISTRICT OF TENNESSEE 0822
EASTERN DIVISION

MURRAY GUARD, INC.,
PLAINTIFF,

 

vs. CIviL ACTioN No. 1-05-1049-T An
PREFERRED BENEFITS, INC.,

DAVID R. vANDERsLICE (Individuany),

EMPLOYERS oNE soURCE, INC.,

LEsLIE E. sMITH (Individuany), and

L.S. & ASSOCIATES INS. CONSULTANTS, INC.,
DEFENDANTS.

ORDER FOR ADMISSION PRO HAC VICE
Upon motion by counsel, and for good cause shown, it is hereby
ORDERED that Brooks R. Buchanan of the law firm of Butler, Snow, O'Mara, Stevens
& Carmada, PLLC, 17th Floor, AmSouth Plaza, 210 East Capita] Street, P.O. Box 22567',
Jackson, Mississippi 39225-2567', is hereby admitted to the bar of this court pro hac vice for the

purpose of acting as counsel for defendants Employers One Source, Inc. and Leslie E. Smith in

@WZM

HD STATES DISTRICT IUDGE

Date: D:;LQ` {)M MS/

the above-captioned matter.

MEMPH]S 1?0849\/1

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This notice confirms a copy of the document docketed as number 14 in
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